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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:09CR3031
                                       )
            v.                         )
                                       )
MICHAEL KONING, LOWELL                 )                   ORDER
BAISDEN, SUSAN BAISDEN-                )
KONING,                                )
                                       )
                  Defendants.          )



      IT IS ORDERED that the government’s motion to continue, (filing no. 37), is
granted, and the government’s brief in response to the defendant Michael Koning’s
Motion to Compel Disclosure of 404(b) Evidence shall be filed on or before August
20, 2009.

      DATED this 11th day of August, 2009.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      United States District Judge
